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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States of America

                                                               24 Cr. 542 (AS)
               v.


Sean Combs,

                              Defendant.




    DECLARATION OF MARC A. AGNIFILO IN SUPPORT OF MOTION FOR AN
                      EVIDENTIARY HEARING

I, Marc A. Agnifilo, declare as follows:

       1.      I am a partner at Agnifilo Intrater LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the State of New York and I am also admitted to the United

States District Court for the Southern District of New York.

       2.      This declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of the Motion for Discovery, Evidentiary Hearing and Suppression.

       3.      On March 25, 2024, Special Agents of the Department of Homeland Security’s

Homeland Security Investigations (HSI) executed search warrants in what the press described to

be Mr. Combs’ homes in California and Florida. The HSI agents were supported by full tactical

teams, including at least three BearCat assault vehicles and drones. According to media footage,

the agents held semiautomatic rifles to the head of one of Mr. Combs’ sons and to the heart of the

other. See Diddy’s LA, Miami homes raided by federal agents as part of sex-trafficking probe:

       report, dated March 25,        2024, available          at: https://nypost.com/2024/03/25/us-

news/diddys-la-miami-homes-raided-by-federal-agents-as-part-of-sex-trafficking-probe-report/, a true

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and correct copy of which is attached hereto as Exhibit 1. Media video footage also indicates that

media outlets were on the scenes prior to the HSI agents’ entry into the premises.

        4.      Upon information and belief and as reported in media accounts, federal agents made

comments to the media the day of the search warrant and over the following days. These statements

have continued to the present day.

        5.      Attached hereto as Exhibit 2 is a true and correct copy of an article titled Sean

Combs’ Homes Raided as Part of Sex Trafficking Investigation, dated March 25, 2024, available

at:   https://www.rollingstone.com/music/music-news/sean-combs-homes-raided-sex-trafficking-

investigation-1234990642/.

        6.      Attached hereto as Exhibit 3 is a true and correct copy of an article titled Diddy’s

sons return to LA mansion to grab belongings after being cuffed during federal raid, dated March

26, 2024, available at: https://nypost.com/2024/03/26/us-news/diddys-sons-return-to-mansion-

to-grab-belongings-after-raid/.

        7.      Attached hereto as Exhibit 4 is a true and correct copy of an article titled Sean

‘Diddy’ Combs’ alleged victims ‘talking a lot’; feds claim ‘concrete, detailed, explicit allegations

of sex trafficking,’ dated March 27, 2024 available at: https://nypost.com/2024/03/27/us-

news/sean-diddy-combs-alleged-victims-talking-a-lot-feds-claim-concrete-detailed-explicit-

allegations-of-sex-trafficking/.

        8.      Attached hereto as Exhibit 5 is a true and correct copy of an article titled Raids of

Diddy’s properties signal federal prosecutors in New York are confident in case: expert, dated

March 29, 2024, available at: https://abc7ny.com/sean-diddy-combs-raids-new-york-case-

federal-




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prosecutors/14577518/#%3A%7E%3Atext%3DNEW%20YORK%20(WABC)%20%2D%2D%2

0The%2Cthe%20case%20they%27re%20building.

       9.          Attached hereto as Exhibit 6 is a true and correct copy of an article titled Homeland

Security Investigation Targets Sean ‘Diddy’ Combs, Requests Flight Records, dated April 2, 2024,

available    at:     https://thesource.com/2024/04/02/homeland-security-investigation-targets-sean-

diddy-combs-requests-flight-

records/#%3A%7E%3Atext%3DThe%20source%2C%20who%20requested%20anonymity%2Ci

nto%20Combs%27%20movements%20and%20activities.

       10.         Attached hereto as Exhibit 7 is a true and correct copy of an article titled ‘Nothing

off the table’ as feds set to widen Diddy probe: Reporter, dated March 31, 2024, available at:

https://www.newsnationnow.com/crime/feds-widen-diddy-probe-reporter/.

       11.         On May 17, 2024, at 8:16 ET, a CNN correspondent contacted a member of Mr.

Combs’ team to seek comment on a video they intended to publish in a few hours. The

correspondent indicated that CNN came “across a video and currently have in our possession

surveillance footage from the Intercontinental Hotel in Los Angeles in 2016.”

       12.         At 10:23am ET, I emailed the prosecutors assigned to this case and stated, among

other things that we received word that CNN has been given a video tape of the Intercontinental

Hotel from 2016. “My concern is that someone (not any of you and not the lead case agents)

provided this footage to CNN. I bring this to your attention solely because I imagine you don’t

want this to happen any more than I do…”

       13.         During the afternoon on May 17, 2024, CNN released the video.




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         14.    At 6:37 pm ET, an Assistant United States Attorney assigned to this case responded

“We really appreciate you giving us a heads up. We have now seen the video. If we need to connect

on anything, let us know.”

         15.    Attached hereto as Exhibit 8 is a true and correct copy of an article titled Diddy ‘as

bad as Epstein,’ says officer who saw his sex rooms, hidden cameras during Miami mansion raid,

dated September 18, 2024 after Mr. Combs’ arrest, available at: https://nypost.com/2024/09/18/us-

news/diddy-as-bad-as-epstein-says-officer-who-raided-miami-mansion/.

         16.    Attached hereto as Exhibit 9 is a true and correct copy of an article titled Diddy is

'as bad as Epstein' says cop who raided disgraced hip-hop mogul's Miami mansion where police

found sex rooms used to host 'freak offs' dated September 19, 2024 after Mr. Combs’ arrest,

available at: https://www.dailymail.co.uk/news/article-13868189/Diddy-bad-Epstein-says-cop-

raided-disgraced-hip-hop-moguls-Miami-mansion-police-sex-rooms-used-host-freak-offs.html.

         17.    Attached hereto as Exhibit 10 is a true and correct copy of an article titled More

Accusers Coming Forward ... Talking To Feds After Arrest dated October 2, 2024, available at:

https://www.tmz.com/2024/10/02/diddy-accusers-coming-forward-since-arrest/.

         18.    Attached hereto as Exhibit 11 is a true and correct copy of an article titled Sean

'Diddy' Combs probe team launch UK victims search as they jet in from US, dated September 28,

2024, available at: https://www.themirror.com/news/uk-news/sean-diddy-combs-probe-team-

719849.

         19.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          October 9, 2024
                New York, NY
                                                              /s/
                                                              Marc Agnifilo, Esq.

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